                                                                            Motion GRANTED.
                                                                            Sentencing reset for
                   UNITED STATES DISTRICT COURT                             12/3/12 at 1:30 PM.
               FOR THE MIDDLE DISTRICT OF TENNESSEE
                        NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )
                                             )
v.                                           )               No. 2:11-00002(31)
                                             )               JUDGE TRAUGER
                                             )
WILLIAM JEROME BURNS                         )

        UNOPPOSED MOTION TO CONTINUE SENTENCING HEARING
           AND DEFENDANT’S REQUEST TO EXTEND DEADLINES
                REGARDING THE FILING OF PSR OBJECTIONS

      William Jerome Burns, through his attorney John P. Cauley, moves this Honorable

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Thursday September 27, 2012. In support of the foregoing motion, it is respectfully

represented to this Honorable Court the following:

      1. Counsel for Mr. Burns is also counsel for Alto Parnell, Defendant Number 22
          in U.S. v. Porter, 3:11-00012.
      2. U.S. v Porter is set for trial on the September 25, 2012.
      3. Recently counsel was informed, informally, that his client would likely be
          among the few defendants in Porter to be tried on that September 25, 2012
          date.
      4. The government estimates that the Porter trial will last between 3 and 4 weeks.
      5. The parties in this case, U.S. v. Burns, have made progress in resolving some
          differences bearing upon the complexity of Mr. Burns’ sentencing hearing.
      6. Mr. Burns’ has agreed to a stipulation with regard drug quantity and to his
          UROHZLWKLQWKHFRQVSLUDF\ɔDVDUHVXOWWKHSDUWLHVQRORQJHUDQWLFLSDWHVXFKD
          lengthy hearing.




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